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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE



 JONES, et al.

                 Plaintiffs,
        v.                                                Case No. 2:20-cv-02892-SHL-tmp

 VARSITY BRANDS, LLC, et al.,

                 Defendants.



                        NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants hereby submit the Sixth Circuit’s decision in In re Ford Motor Company, No.

22-0109 (6th Cir. Nov. 16, 2023) (per curiam) as supplemental authority in further support of

their opposition to Plaintiffs’ motion for class certification (ECF No. 420).

       In the decision (attached as Exhibit A hereto), the Sixth Circuit vacated a class

certification order of the Eastern District of Michigan. Of particular relevance to ECF No. 420,

in vacating class certification, the Sixth Circuit emphasized the threshold need for there to be at

least one common question in the sense required under the Supreme Court’s decision in Wal-

Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). (Ex. A, at 5-6.) This issue was among

the many defects that Defendants identified in Plaintiffs’ motion for class certification. (See

ECF No. 420 at PageID 13740-41.)



Dated: November 29, 2023                    Respectfully submitted,

                                            s/ Matthew S. Mulqueen

                                            George S. Cary*
                                            Steven J. Kaiser*
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                               CLEARY GOTTLIEB STEEN & HAMILTON LLP
                               2112 Pennsylvania Avenue, NW
                               Washington, DC 20037
                               Phone: (202) 974-1500
                               Fax: (202) 974-1999
                               gcary@cgsh.com
                               skaiser@cgsh.com

                               Jennifer Kennedy Park*
                               Heather Nyong’o*
                               CLEARY GOTTLIEB STEEN & HAMILTON LLP
                               1841 Page Mill Road, Suite 250
                               Palo Alto, CA 94304
                               Phone: (650) 815-4100
                               Fax: (202) 974-1999
                               jkpark@cgsh.com
                               hnyongo@cgsh.com

                               * Admitted pro hac vice

                               Matthew S. Mulqueen (TN #28418)
                               Adam S. Baldridge (TN #23488)
                               BAKER, DONELSON, BEARMAN, CALDWELL &
                               BERKOWITZ
                               165 Madison Avenue, Suite 2000
                               Memphis, TN 38103
                               Phone: (901) 526-2000
                               Fax: (901) 577-0866
                               mmulqueen@bakerdonelson.com
                               abaldridge@bakerdonelson.com

                               Attorneys for Varsity Brands, LLC; Varsity Spirit,
                               LLC; Varsity Spirit Fashions & Supplies, LLC; Bain
                               Capital Private Equity, LP; Bain Capital Fund XII,
                               L.P.; Bain Capital Fund (DE) XII, L.P.; and Bain
                               Capital Fund (Lux) XII, SCSp


                               s/ Nicole Berkowitz Riccio

                               Grady Garrison (TN #008097)
                               Nicole Berkowitz Riccio (TN #35046)
                               James Andrew Roach (TN #37934)
                               BAKER, DONELSON, BEARMAN, CALDWELL
                               & BERKOWITZ
                               165 Madison Avenue, Suite 2000


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                               Memphis, TN 38103
                               Phone: (901) 526-2000
                               Fax: (901) 577-0866
                               ggarrison@bakerdonelson.com
                               nriccio@bakerdonelson.com
                               aroach@bakerdonelson.com

                               Attorneys for U.S. All Star Federation, Inc.


                               s/ Brendan P. Gaffney

                               Paul E. Coggins*
                               Brendan P. Gaffney*
                               Kiprian E. Mendrygal*
                               Jennifer McCoy*
                               Katherine Wright
                               LOCKE LORD LLP
                               2200 Ross Avenue, Suite 2800
                               Dallas, TX 75201
                               Phone: (214) 740-8000
                               Fax: (214) 740-8800
                               pcoggins@lockelord.com
                               bgaffney@lockelord.com
                               kmendrygal@lockelord.com
                               jennifer.mccoy@lockeord.com
                               katie.wright@lockelord.com

                               * Admitted pro hac vice

                               Edward L. Stanton III (TN #018904)
                               S. Keenan Carter (TN # 023386)
                               BUTLER SNOW LLP
                               6075 Poplar Avenue, Suite 500
                               Memphis, Tennessee 38119
                               Telephone: (901) 680-7336
                               Fax: (901) 680-7201
                               Edward.Stanton@butlersnow.com
                               Keenan.carter@butlersnow.com

                               Attorneys for Jeff Webb




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